            Case 2:10-cr-00474-WBS Document 168 Filed 07/16/13 Page 1 of 2


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     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    Designated Counsel for Service
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     Telephone: (916) 498-5700
5
6    Attorneys for Defendant
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8                             UNITED STATES DISTRICT COURT
9                            EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,       )       No. 10-474-02 WBS
                                     )
11                  Plaintiff,       )       APPLICATION AND [PROPOSED] ORDER
                                     )       TO CONTINUE SENTENCING TO OCTOBER
12        v.                         )       7, 2013, AT 9:30 A.M.
                                     )
13   DOUGLAS HEALD,                  )       Date: August 26, 2013
                                     )       Time: 9:30 a.m.
14                  Defendant.       )       Judge: Hon. William B. Shubb
                                     )
15   _______________________________ )
16
17         This matter is before the Court on August 26, 2013, at 9:30 a.m.,
18   for sentencing.    Counsel for the defense requires a continuance to
19   October 7, 2013, at 9:30 a.m., to prepare for sentencing.           Government
20   counsel does not oppose this request in light of his unavailability due
21   to jury trial commitments.      After consultation, United States Probation
22   has no objection to the request.
23         The modified disclosure schedule follows:
24   Reply Or Statement Of Non!Opposition:.        . . . . . . September 30, 2013;
25   Motion For Correction Of The Presentence Report
     Filed With The Court And Served On The Probation
26   Officer And Opposing Counsel No Later Than:. . . . September 23, 2013;
27
28   [PROPOSED] ORDER                         1                              10-474 WBS
            Case 2:10-cr-00474-WBS Document 168 Filed 07/16/13 Page 2 of 2


1    The Presentence Report Filed With The Court And
     Disclosed To Counsel No Later Than:. . . . . . . . September 16, 2013;
2
3    Counsel's Written Objections To The Presentence
     Report Delivered To The Probation Officer
4    And Opposing Counsel No Later Than:. . . . . . . .            September 9, 2013;
5          Good cause appearing therefor,
6          IT IS ORDERED that this matter be continued from August 26, 2013,
7    at 9:30 a.m., to October 7, 2013, at 9:30 a.m.; and,
8          IT IS ORDERED that the parties adhere to the modified disclosure
9    schedule outlined above.
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11   Dated:   July 15, 2013
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28   [PROPOSED] ORDER                         2                              10-474 WBS
